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                     Exhibit 1
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                                           State of Connecticut
                COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES
                    West Central Region Office, 55 West Main Street, 2 nd Floor, Suite 210, Waterbury, CT 06702
                                                                'P� &� ad �/o't att'P�


May 13, 2020

Yale University
Caroline Hendel/Senior Associate General Counsel
Caroline.hendel@yale.edu

Patrick Noonan/Donahue, Durham & Noonan, P.C.
pnoonan@ddnctlaw.com

RE:    CHRO No.: 2030529 - Oliver vs. Yale University
                 2030533 - Oliver vs. Yale University
                 2030537 - Castro vs. Yale University
                 2030538 -Reinhart vs. Yale University
                 2030542- Boules vs. Yale University
                 2030544-Eltorai vs. Yale University


Dear Respondent:

A complaint, referenced above, has been filed against you with the Commission. A copy of the
complaint is attached.

The enclosed General Notice advises you of your rights, duties and responsibilities. Please read
carefully the information contained in the notice. The enclosed Notice Regarding Out of State
Attorneys advises that all attorneys practicing before the Commission must be admitted to practice
law in Connecticut and that it is the responsibility of all counsel to comply with Connecticut practice
rules. Also enclosed is important information with respect to the no fault conciliation process. The
Commission is available to assist you if you wish to pursue settlement of this complaint. If you wish
to conciliate the complaint prior to providing an answer, you must notify the Commission within 10
days of receipt of the enclosed complaint.

You must file a written answer to the complaint under oath with the Commission within 30
days of receipt of this complaint unless pre-answer conciliation has been requested. If you fail
to answer the complaint within this time, you may be defaulted by the Commission. Parties are
encouraged to submit all filings by email only without an additional hardcopy if possible. You
must email a scanned copy of your signed and notarized answer to susan.mota@ct.gov and
chro.westcentral@ct.gov

You have a duty to certify to the Commission that you have provided the complainant with copies of
all documents you file with the Commission. You also have a duty to ensure that personal identifying



                                  Main (203) 805-6530 ~ Fax (203) 805-6559
                www.ct.gov/chro ~ Toll Free in Connecticut (800) 477-5737 ~ TDD (203) 805-6579
                              Affirmative Action/Equal Opportunity Employer
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                                                                   At that time, Peters was denied the permanent position of
                                                                   “Sanitarian II.”
                  2003 WL 1343265
    Only the Westlaw citation is currently available.
                                                                   On May 6, 1997, Peters entered into a letter agreement
     United States District Court, D. Connecticut.
                                                                   with his union and Stamford for a permanent position.
               Gregory PETERS, Plaintiff,                          In accordance with the letter agreement, Peters became a
                          v.                                       “Health Inspector II” at level S–13(A) on the pay scale, and
            CITY OF STAMFORD, Defendant                            another temporary employee, Jane Gibeault (“Gibeault”), a
                                                                   Caucasian, became a “Health Inspector I” at level S–11(E) on
                   No. 3:99–CV–764 CFD.                            the pay scale. The letter agreement did not specify the actual
                             |                                     salaries that correlated to the pay scale figures for Peters and
                      March 17, 2003.                              Gibeault. The letter agreement also provided for the payment
                                                                   of certain “stipends” in December 1997. 3

          RULING ON DEFENDANT'S MOTION                             Peters and Gibeault secured their new, permanent positions
             FOR SUMMARY JUDGMENT                                  with Stamford without the merit testing and selection process.
                                                                   However, presumably in response to the “waiver” of Peters
DRONEY, J.                                                         and Gibeault into these permanent positions, both Peters' and
                                                                   Gibeault's starting salaries were lower than they might have
I. Introduction
                                                                   otherwise been if they had tested into their positions. Also, the
 *1 In this action, plaintiff Gregory Peters (“Peters”) alleges
                                                                   letter agreement resulted in Gibeault's starting salary being
that his current employer, the City of Stamford (“Stamford”)
                                                                   higher than Peters' starting salary, because, though the letter
violated his rights under Title VII of the Civil Rights Act
                                                                   agreement placed Gibeault at a lower grade than Peters on the
of 1964,    42 U.S.C. § 2000e et seq. (“Title VII”), the           pay scale, she was at a higher “step” and was thus initially paid
First and Fourteenth Amendments, and the Connecticut               more because of the overlapping grade system. Subsequently,
Fair Employment Practices Act,         Conn. Gen.Stat. § 46a–      however, in May 1998, Peters' salary became higher than
60(a)(1) (“CFEPA”). Specifically, he alleges that Stamford         Gibeault's, because his “step” in his grade on the pay scale
discriminated against him based on his race and retaliated         increased.
against him on the basis of his opposition to certain
enforcement actions of other health inspectors. The relief         Peters claims that Stamford's hiring him as a “Provisional
requested by Peters includes compensatory damages, punitive        Sanitarian II,” rather than a permanent “Sanitarian II,”
damages, injunctive relief, and costs and reasonable attorney's    paying him a lower starting salary pursuant to the May
fees.                                                              6, 1997 letter agreement, and delay in paying him the
                                                                   stipends were the result of discrimination on the basis
Pending is Stamford's motion for summary judgment [Doc.            of his race and retaliation on the basis of his opposition
# 43].                                                             to certain enforcement actions of other Stamford Health
                                                                   Department employees during his previous employment
                                                                   with Stamford. As to retaliation, Peters claims that, during
II. Background 1                                                   his previous employment with Stamford, he spoke out
Peters, an African–American, was hired by the Department           against certain health inspection activities of his co-
of Health of Stamford (the “Health Department”) on March           workers. Peters claims that he opposed “Sanitarian's wanton
13, 1989 as a health inspector. Peters began at the position       disregard of Director of Health closure notice,” “selective
of “Sanitarian I” and, after an examination, was promoted          enforcement activity against Asian operators,” “policy of
to “Sanitarian II” on March 13, 1991. On February 7, 1994,         Sanitarian demanding operators purchase equipment from
Peters left his employment with Stamford to work for the City      select merchants,” “unfair claims for overtime personal
of Hartford. A few years later, he re-applied for employment       work done on City time,” “manner in which Sanitarians
with Stamford. On October 28, 1996, Stamford re-hired              were assigned overtime,” “destruction and removal of
                                                                   information from Department files,” “police [sic] of barring
Peters as a “Provisional Sanitarian II,” a temporary position. 2
                                                                   non-Caucasions from conducting food service plan review,”



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“falsification of inspection records,” and “being pressured         U.S. 849 (1991); see also Suburban Propane v. Proctor Gas.
to issue permits for projects not in accord with Health             Inc., 953 F.2d 780, 788 (2d Cir.1992). Additionally “[w]here,
regulations.” Def's Ex. 4, Response to ¶ 13.                        as here, the nonmovant bears the burden of proof at trial,
                                                                    the movant can satisfy its burden of production by pointing
 *2 On September 22, 1998, Peters filed a complaint                 out an absence of evidence to support an essential element
with the Connecticut Commission on Human Rights and
                                                                    of the non-movant's case.”      Ginsberg v. Healey Car &
Opportunities (“CHRO”), regarding his denial of the
                                                                    Truck Leasing, Inc., 189 F.3d 268, 270 (2d Cir.1999) (citing
permanent position of “Sanitarian II,” the lower pay he
initially received pursuant to the May 6, 1997 letter                 Celotex, 477 U.S. at 323–24 and         Tops Mkts., Inc. v.
agreement, as well as Stamford's delay in paying him the            Quality Mkts., Inc., 142 F.3d 90, 95 (2d Cir.1998)).
stipends. The CHRO complaint was apparently forwarded to
the Equal Employment Opportunity Commission (“EEOC”)                The Court exercises caution in granting summary judgment
                       4                                            in favor of an employer in employment discrimination
on October 28, 1998.
                                                                    cases “when, as here, the employer's intent is at issue.”
Peters filed this action on April 23, 1999, claiming                      Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir.1998)
discrimination on the basis of his race and retaliation. Peters
                                                                    (citing    Gallo v. Prudential Residential Servs., Ltd. P'ship,
alleges violations of Title VII, the First and Fourteenth
                                                                    22 F.3d 1219, 1224 (2d Cir.1994)). However, in order to
Amendments, and the CFEPA.
                                                                    defeat a defendant employer's motion for summary judgment,
                                                                    a plaintiff employee must offer “concrete evidence from
III. Standard                                                       which a reasonable juror could return a verdict in his favor”
In a motion for summary judgment, the burden is on the              and may demand a trial simply because the central issue is the
moving party to establish that there are no genuine issues of       defendant employer's state of mind. Dister v. Continental
material fact in dispute and that it is entitled to judgment as     Group. Inc., 859 F.2d 1108, 1114 (2d Cir.1988) (internal
a matter of law. See Fed.R.Civ.P. Rule 56(c);      Anderson v.      quotations omitted).
Liberty Lobby, Inc ., 477 U.S. 242, 256 (1986). A court must
grant summary judgment “ ‘if the pleadings, depositions,
                                                                    IV. Discussion
answers to interrogatories, and admissions on file, together
with affidavits, if any, show that there is no genuine issue as        A. Standing
to any material fact....” ’    Miner v. Glen Falls, 999 F.2d         *3 At the outset, the Court will address Stamford's argument
655, 661 (2d Cir.1993) (citation omitted). A dispute regarding      in its motion for summary judgment that Peters lacks standing
a material fact is genuine “ ‘if the evidence is such that a        to bring any of his causes of action because he “cannot
reasonable jury could return a verdict for the nonmoving            quantify his damages.” Def.'s Mem. Supp. Mtn. Summ. J. at
                                                                    13.
party.” ’    Aldrich v. Randolph Cent. Sch. Dist., 963 F.2d
520, 523 (2d Cir.) (quoting       Anderson, 477 U.S. at 248),       Article III requires the Court to determine whether plaintiff
cert. denied, 506 U.S. 965 (1992). After discovery, if the          has standing, prior to reaching the merits of the substantive
nonmoving party “has failed to make a sufficient showing on         claims. “To bring a cause of action in federal court requires
an essential element of [its] case with respect to which [it] has   that plaintiffs establish at an irreducible minimum an injury
the burden of proof,” then summary judgment is appropriate.         in fact; that is, there must be some ‘threatened or actual
                                                                    injury resulting from the putatively illegal action....” ’
   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
                                                                       Virginia v. American Booksellers Ass'n, 484 U.S. 383,
The Court resolves “all ambiguities and draw[s] all inferences      392 (1988) (quoting       Warth v. Seldin, 422 U.S. 490, 499
in favor of the nonmoving party in order to determine how a         (1975)). The Supreme Court has further explained that “[t]he
reasonable jury would decide.”    Aldrich, 963 F.2d at 523.         injury or threat of injury must be both real and immediate,
Thus, “[o]nly when reasonable minds could not differ as to the      not conjectural or hypothetical.” City of Los Angeles
import of the evidence is summary judgment proper.” Bryant          v. Lyons, 461 U.S. 95, 101–02 (1983) (internal quotation
v. Maffucci, 923 F.2d 979, 982 (2d Cir.), cert. denied, 502


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marks omitted). Resolving all ambiguities and drawing all          discrimination agency-the CHRO-and Peters filed a charge
inferences in favor of Peters, as the Court must on a motion for   of discrimination with the CHRO. Thus, the 300 day limit
summary judgment, the Court concludes that Peters has set          applies.
forth sufficient evidence of damages, specifically, evidence
regarding the pay differential between his and Gibeault's          *4 Here, Peters filed his charge of discrimination with
salaries for the period where her salary was higher and the        the CHRO on September 22, 1998. 6 As a result, incidents
stipends that were allegedly delayed. Accordingly, the Court       of discrimination that occurred before November 28, 1997,
declines to grant summary judgment on this basis.                  300 days before September 22, 1998, are time-barred. See
                                                                      Quinn v. Green Tree Credit Corp ., 159 F.3d 759, 765 (2d
   B. Title VII Claims5                                            Cir.1998).
Title VII provides that “[i]t shall be unlawful for an
employer ... to discriminate against any individual with           Peters argues that the continuing violation exception applies
respect to his compensation, terms, conditions, or privileges      in this case. See Pl.'s Opp'n Mtn. Summ. J. at 5. The
of employment, because of the individual's race, color,            Second Circuit has recognized an exception to the 300–day
                                                                   limitation period in cases involving a “continuing violation.”
religion, sex, or national origin.”    42 U.S.C. § 2000e–2(a)
(1). Peters alleges that Stamford violated Title VII in two        See    Cornwell v. Robinson, 23 F.3d 694, 703–04 (2d
ways: it discriminated against him on the basis of his race        Cir.1994).
and it retaliated against him for opposing certain practices and
policies of the Health Department and its employees. Each          As an initial matter, a plaintiff may not rely on the continuing
claim will be examined below.                                      violations exception unless he has asserted the theory in prior
                                                                   administrative proceedings. See      Fitzgerald v. Henderson,
                                                                   251 F.3d 345, 359 (2d Cir.2001), cert. denied, 122 S.Ct. 2586
   1. Discrimination
                                                                   (2002). In his CHRO complaint, Peters alleged that Stamford
As to Peters' Title VII discrimination claim, Stamford
                                                                   violated his rights when it designated him as a “Health
makes two arguments in support of its motion for summary
                                                                   Inspector II” with a pay grade of S–13(A) on May 6, 1997
judgment: (1) Peters' complaint is untimely, and (2) the
                                                                   and later denied him certain stipends to which he was entitled.
alleged adverse employment actions-Stamford's hiring him
                                                                   Def.'s Ex. 3. Peters also states in his CHRO complaint that
as a provisional, rather than permanent sanitarian, starting
                                                                   he has “and continue[s] to feel aggrieved and humiliated by
Peters at a lower salary then Gibeault pursuant to the May 6,
                                                                   these circumstances.” In the box entitled “Date Most Recent
1997 letter agreement, and its delay in paying Peters certain
                                                                   or Continuing Discrimination Took Place,” Peters indicated
stipends-did not occur under circumstances evincing an intent
                                                                   September 22, 1998. While these statements do not clearly
to discriminate, and thus, Peters has not put forward sufficient
                                                                   indicate Peters' reliance on a continuing violations theory,
evidence to establish a prima facie case. Each issue will be
                                                                   the Court concludes that they are sufficient to invoke the
discussed below.
                                                                   continuing violations exception here. Cf.      Fitzgerald, 251
                                                                   F.3d at 363 (determining that the plaintiff had sufficiently
   a. Untimeliness                                                 raised the issue where letters from the state agency indicated
Generally, discrimination claims under Title VII must be           that the violations alleged began on a date that would
filed with the EEOC within 180 days of the date on which           otherwise have been time-barred, though in that case the
the “alleged unlawful employment practice occurred.”     42        agency also specifically stated that she was seeking to rely on
U.S.C. § 2000e–5(e)(1). However, when one has filed a              a continuing violations theory).
charge of discrimination in a state or locality that has its
own anti-discrimination laws and an enforcement agency,            The Second Circuit had previously held that the continuing
the time period for filing claims with the EEOC is extended        violations doctrine extends the statute of limitations for all
to 300 days of the occurrence of the allegedly unlawful            claims of discriminatory acts committed under an “ongoing

employment practice. 42 U.S.C. § 2000e–5(e)(1); Ford               policy of discrimination.”       Weeks v. N.Y. State Div. of
v. Bernard Fineson Dev. Ctr., 81 F.3d 304, 307 (2d Cir.1996).      Parole, 273 F.3d 76, 82 (2d Cir.2001); see also     Fitzgerald,
Connecticut has both anti-discrimination laws and an anti-


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251 F.3d at 359 (holding that a continuing violation may be      work environment are part of one unlawful employment
found “where specific and related instances of discrimination    practice, [and thus] the employer may be liable for all acts that
are permitted by the employer to continue unremedied
                                                                 are part of this single claim.” Id. at 2075. According to the
for so long as to amount to a discriminatory policy or
                                                                 Court, discrete acts include “termination, failure to promote,
practice”);    Quinn, 159 F.3d at 765 (“The continuing
                                                                 denial of transfer, or refusal to hire.”   Id. at 2073.
violation exception extends the limitations period for all
claims of discriminatory acts committed under an ongoing
                                                                 Here, Stamford's hiring of Peters as a provisional sanitarian
policy of discrimination even if those acts, standing alone,
                                                                 on October 28, 1996 is a discrete employment action. See id.
would have been barred by the statute of limitations.”);
                                                                 (discrete acts include “termination, failure to promote, denial
   Harris v. City of New York, 186 F.3d 243, 250 (2d Cir.1999)   of transfer, or refusal to hire”). Accordingly, the continuing
(to allege a continuing violation, “the claimant must allege     violations theory does not apply to this employment action.
both the existence of an ongoing policy of discrimination        Nor does Peters' complaint allege a hostile work environment.
and some non-time-barred acts taken in furtherance of that       Accordingly, Peters' Title VII claim with regard to his failure
policy”).                                                        to be hired as a permanent “Sanitarian II” on October
                                                                 28, 1996 is time-barred. Moreover, Peters appears to have
*5 The Supreme Court has recently clarified the continuing       abandoned his claim of discrimination with regard to his
                                                                 October 28, 1996 hire. See Peters Dep. at 138 (“Q. Did anyone
violation exception in    National R.R. Passenger Corp. v.
                                                                 discriminate against you in hiring you back in October/
Morgan, 536 U.S. 101, 122 S.Ct. 2061 (2002). There, the
                                                                 November of 1996? A. No, that's not my claim.”).
Court foreclosed the use of the continuing violation doctrine
to incorporate untimely claims for discrete discriminatory
                                                                 Each paycheck issued to Peters pursuant to the May 6, 1997
actions even though they may be related to a timely claim.
                                                                 letter agreement, until the increase in May 1998, is also a
The Court stated:
                                                                 discrete employment action. See id. at 2071. In     Bazemore
                                                                 v. Friday, 478 U.S. 385 (1986) (per curiam), the Supreme
            First, discrete discriminatory acts                  Court considered a discriminatory salary structure and held
            are not actionable if time barred,                   that although the salary discrimination began prior to the date
            even when they are related to acts                   that the act was actionable under Title VII, “[e]ach week's
            alleged in timely filed charges. Each                paycheck that deliver[ed] less to a black than to a similarly
            discriminatory act starts a new clock                situated white is a wrong actionable under Title VII....”
            for filing charges alleging that act....                478 U.S. at 395. Like termination, failure to promote, or
            The existence of past acts and the                   refusal to hire, the issuance of a discriminatory paycheck
            employee's prior knowledge of their                  is “easily identifiable” and “can be pinpointed in time.”
            occurrence, however, does not bar
            employees from filing charges about                         Inglis v. Buena Vista Univ., 235 F.Supp.2d 1009, 1023
            related discrete acts so long as the                 (N.D.Iowa 2002). Accordingly, the continuing violations
            acts are independently discriminatory                theory does not apply to the pay issued to Peters pursuant
            and charges addressing those acts are                to the May 6, 1997 letter agreement. However, Stamford's
            themselves timely filed. Nor does the                issuance of a discriminatory paycheck to Peters may be
            statute bar an employee from using the               actionable even though it is part of a discriminatory pay
            prior acts as background evidence in                 structure that began outside the relevant limitations period.
            support of a timely claim.                           See id.;    Morgan, 122 S.Ct. at 2071.

                                                                  *6 As in Bazemore, however, those acts of discriminatory
                                                                 payment that fall within the statutory period are actionable
   Morgan, 536 U.S. at ––––, 122 S.Ct. at 2072. The Court
                                                                 only if the discriminatory pay structure was in place within
also held, however, that “an employee need only file a charge
within 180 or 300 days of any act that is part of [a] hostile    the 300 day limitations period. See        Bazemore, 478 U.S.
work environment” because “incidents comprising a hostile        at 395;        Inglis, 235 F.Supp.2d at 1023–24. Here, Peters


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filed his administrative claim in September 1998, which is         v. New York Racing Ass'n, 233 F.3d 149, 153 (2d Cir.2000)
within 300 days of when his pay allegedly ceased to be             (internal quotation marks omitted).
discriminatory-May 1998. Cf.           Inglis, 235 F.Supp.2d
                                                                   Once a prima facie case is established, the burden shifts to
at 1023–25 (holding that Title VII claim was time-barred
                                                                   the employer to show a legitimate, non-discriminatory reason
where administrative claim not brought within 300 days of
                                                                   for the plaintiff's termination. See id. If the employer does
discontinuance of discriminatory pay structure). Accordingly,
                                                                   so, the plaintiff bears the “ultimate burden” of proving “
each paycheck Peters received within 300 days of September
                                                                   ‘that the legitimate reasons offered by the defendant were
22, 1998, i.e., after November 28, 1997, that was less than
                                                                   not its true reasons, but were a pretext for discrimination.”
Gibeault's is actionable under Title VII.
                                                                   ’       Roge v. NYP Holdings, Inc., 257 F.3d 164, 168 (2d
Peters has also presented evidence, namely his statements in
                                                                   Cir.2001) (quoting     Reeves v. Sanderson Plumbing Prods.,
interrogatory answers under oath, of other allegedly adverse
employment actions that occurred after November 28, 1997.          Inc., 530 U.S. 133, 143 (2000)); see also    Texas Dep't of
Specifically, Peters attests that Stamford failed to pay him       Cmty. Affairs v. Burdine, 450 U.S. 248, 252–53 (1981). A
certain stipends on several dates following November 28,           plaintiff's prima facie case plus a showing of pretext may
                                                                   defeat a properly supported summary judgment but will not
1997. 7 See Def.'s Ex. 4, Response to ¶ 10. According
to Morgan, Peters' Title VII claims as to any adverse              always do so. See      Lizardo v. Denny's, Inc., 270 F.3d 94,
employment actions that occurred after November 28, 1997
                                                                   103 (2d Cir.2001) (citing       Reeves, 530 U.S. at 146–48).
are not time-barred. Thus, those stipends are actionable.
                                                                   Instead, the court must determine whether the plaintiff's proof
                                                                   could convince a reasonable fact-finder that discrimination
To sum up: as to Peters' allegation as to Stamford's hiring
                                                                   motivated his employer. See id. In making this determination,
of him as a provisional sanitarian on October 28, 1996, the
                                                                   the court should consider the strength of the prima facie case,
Court concludes that this claim is time-barred and must be
                                                                   the proof that defendants' explanation was false, and any other
dismissed. As to Peters' claims regarding the May 6, 1997
letter agreement and the stipends, the Court declines to grant     probative proof in the record. See Allah v. City of New York
summary judgment on the basis that these claims are time-          Dep't of Parks & Recreation, 47 Fed. Appx. 45, *49, 2002
barred. The Court will address the merits of these claims in       WL 31119698 at * *3 (2d Cir. Sept. 25, 2002).
the following section.
                                                                    *7 Stamford contends that it is entitled to summary
                                                                   judgment as to Peters' race discrimination claim because
  b. Merits of Discrimination Claim                                Peters has failed to present sufficient evidence of one of
Stamford also argues that Peters has failed to establish a prima   the prongs of his prima facie case, namely, that the adverse
facie case under    McDonnell Douglas Corp. v. Green, 411          employment actions occurred under circumstances giving rise
U.S. 792 (1973) as to his Title VII claims.                        to an inference of race discrimination.

                                                                   However, the Court finds that Peters has satisfied the minimal
Under the burden-shifting framework of             McDonnell       burden of proving a prima facie case. Stamford does not
Douglas Corp. v. Green, 411 U.S. 792, 802 (1973), a plaintiff      challenge whether Peters is a member of the protected class
alleging disparate treatment based on race in violation of Title   of African–Americans, whether Peters was qualified for
VII must first establish a prima facie case of discrimination.     continued employment, or whether his lower starting salary
To establish a prima facie case of race discrimination, a          and stipends constitute adverse employment actions.
plaintiff must show (1) membership in a protected class,
(2) qualification for continued employment, (3) an adverse         As to the final prong, the Court concludes that Peters has
employment action, and (4) circumstances that give rise to an      satisfied his “minimal” burden of proving circumstances that
inference of discrimination. See    McDonnell Douglas, 411         give rise to an inference of discrimination. It appears from
U.S. at 802. The burden on the plaintiff of presenting a prima     the record that Peters and Gibeault were similarly situated.
                                                                   They were both temporary health inspector employees and
facie case under McDonnell Douglas is “minimal.”         James
                                                                   appear to have been of roughly the same capability. As well,
                                                                   they were “promoted” to permanent employee status pursuant


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to the same May 6, 1997 letter agreement. Finally, Stamford         to the May 6, 1997 letter agreement. However, summary
does not dispute that Peters' starting salary was lower than        judgment is granted as to Peters' claim of race discrimination
Gibeault's. “A showing that the employer treated a similarly        with regard to the stipends.
situated employee differently is ‘a common and especially
effective method’ of establishing a prima facie case of
                                                                       2. Retaliation
discrimination....”    McGuinness v. McGuinness c. Lincoln          Under Title VII, “[i]t also ... [is] an unlawful employment
Hall, 263 F.3d 49, 53 (2d Cir.2001) (quoting           Abdu–        practice for an employer to discriminate against any of
Brisson v. Delta Air Lines, Inc., 239 F.3d 456, 468 (2d             his employees .... because [the employee] opposed any
Cir.2001)). Additionally, Stamford has not set forth any non-       practice made an unlawful employment practice by [Title
discriminatory reasons for the pay differential. Accordingly,       VII].”     42 U.S.C. § 2000e–3(a). “The objective of this
the Court concludes that Peters has established a prima             section is obviously to forbid an employer from retaliating
facie case of race discrimination, and Stamford's motion for        against an employee because of the latter's opposition to
summary judgment on this claim is denied.
                                                                    an unlawful employment practice.”        Fitzgerald, 251 F.3d
As to the stipends, however, the Court concludes that               at 358 (quotations and citations omitted). To establish a
Stamford has demonstrated a legitimate, non-discriminatory          prima facie case of retaliation, the plaintiff must show: (1)
reason for the delay in paying Peters stipends in 1998, and         participation in a protected activity; 8 (2) the employer knew
Peters has not demonstrated that this reason was a pretext for      of the protected activity; (3) an adverse employment action;
discrimination. In the affidavit of Margaret Murray, annexed        and (4) a causal connection between the protected activity
as Exhibit 1 to Stamford's submission in support of its
                                                                    and the adverse employment action. See   McMenemy v.
motion for summary judgment, Murray states that the stipends
                                                                    City of Rochester, 241 F.3d 279, 282–83 (2d Cir.2001);
referred to by Peters are payments for certificates earned from
the State of Connecticut. Murray Aff. at ¶ 21. According to             Wimmer v. Suffolk County Police Dep't, 176 F.3d 125,
Murray, “[a]ll employees seeking payment for such stipends          134 (2d Cir.1999). Once a prima facie case is established,
are required to submit copies of the certificates earned before     the burden of production shifts to the employer to show that
payment is made.” Id. at ¶ 25. Murray goes on to state that         a legitimate, nondiscriminatory reason existed for its action.
“[o]n or about October, 1998, the plaintiff's stipends were held       Raniola v. Bratton, 243 F.3d 610, 625 (2d Cir.2001).
up because he declined to provide copies of the certificates he
allegedly earned, as such are required to pay the stipend.” Id.     Peters claims that he opposed and spoke out against certain
at ¶ 22. After the plaintiff provided the copies of certificates,   health inspection activities of his co-workers and that
Murray states, “the plaintiff was paid his stipends on March        Stamford's hiring him as a provisional, rather than permanent,
11, 1999.” Id. at ¶ 24.                                             sanitarian on October 28, 1996, the lower pay he initially
                                                                    received in May 1997, and Stamford's delay in paying him
Peters has not presented evidence sufficient to create a            certain stipends were in retaliation for such speech.
genuine issue of material fact “that the legitimate reason[ ]
offered by the defendant were not its true reason[ ], but           As to Peters Title VII retaliation claim regarding Stamford's
were a pretext for discrimination.”     Reeves, 530 U.S. at         hiring of him as a provisional sanitarian on October 28, 1996,
143. That is, Peters has not presented sufficient evidence          the Court concludes, as above, that claim is time-barred. As
to suggest that his failure to timely submit the certificates       to Peters' Title VII retaliation claim regarding the stipends,
was not the reason for Stamford's delay in paying him the           the Court concludes that, for the reasons discussed above,
stipends such that a reasonable fact-finder could conclude          even assuming Peters has established a prima facie case
that discrimination motivated Stamford with regard to the           of retaliation, Stamford has demonstrated a legitimate, non-
                                                                    discriminatory reason for the delay in paying Peters stipends,
stipends. See   Lizardo, 270 F.3d at 103 (citing        Reeves,
                                                                    and he has not demonstrated that this reason was a pretext for
530 U.S. at 146–48).
                                                                    retaliation.

 *8 Thus, the Court declines to grant summary judgment as
                                                                    As to Peters' retaliation regarding the paychecks received
to Peters' Title VII claim of race discrimination regarding
                                                                    pursuant to the May 6, 1997 letter agreement, the Court
paychecks received after November 28, 1997 and pursuant


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concludes that he has failed to establish a prima facie case of
                                                                       Rand v. CF Industries, 42 F.3d 1139, 1147 (7th Cir.1994)
retaliation. As to the first prong of the inquiry, Peters stated
                                                                   (finding no reasonable inference of discrimination where
in his answers to Stamford's supplemental interrogatories
                                                                   discharged attorney was member of protected class when
that he opposed and spoke out against selective enforcement
                                                                   hired). Accordingly, summary judgment must be granted as
practices by the Health Department against minorities. Def.'s
                                                                   to Peters' Title VII retaliation claims with regard to the May
Ex. 4, Responses to Interrogatories ¶ 13; Supplemental
                                                                   6, 1997 letter agreement and the stipends.
Responses to Interrogatories ¶ 22. Thus, he appears to have
engaged in a protected activity. See Galdieri–Ambrosini v.
Nat'l Realty & Dev. Corp., 136 F.3d 276, 292 (2d Cir.1998)           C. Section 1983 Claims 9
(stating first prong of inquiry to be whether plaintiff “engaged
in protected activity by opposing a practice made unlawful           1. Municipal Liability
by Title VII”). Peters' evidence also indicates that Stamford      As to Peters'    § 1983 claims, Stamford argues that Peters
knew of the protected activity. As to the third prong, Stamford    has failed to establish the municipal liability of Stamford.
does not dispute that the lower pay he initially received in
                                                                   Although a city may not be liable under       § 1983 for the
May 1997 is an adverse employment action.
                                                                   unconstitutional actions of its employees under the doctrine
                                                                   of respondeat superior, it may be held responsible for its
 *9 As to the final prong, however, Peters has not produced
                                                                   own conduct caused by unconstitutional policies. “It is when
any evidence indicating a causal connection between the
                                                                   execution of a government's policy or custom, whether made
protected activity and the adverse employment action. Peters'
                                                                   by its lawmakers or by those whose edicts or acts may
has not presented any direct evidence of such a causal
                                                                   fairly said to represent official policy, inflicts the injury
connection. Nor has he presented any indirect evidence.
“The causal connection needed for proof of a retaliation           that the government as an entity is responsible under       §
claim can be established indirectly by showing that the
                                                                   1983.”    Monell v. New York City Dept. of Social Services,
protected activity was closely followed in time by the adverse
                                                                   436 U.S. 658, 694 (1978). Thus, to impose liability on a
action.”   Cifra v. General Elec. Co., 252 F.3d 205, 218           municipality, the plaintiff must prove that a municipal policy
(2d Cir.2001) (internal quotation marks omitted); see also
                                                                   or custom caused a deprivation. See      Wimmer v. Suffolk
   Reed v. A.W. Lawrence & Co., 95 F.3d 1170, 1178 (2d             County Police Dept., 176 F.3d 125, 137 (2d Cir.1999). A
                                                                   “policy” is a “statement, ordinance, regulation, or decision
Cir.1996);     Manoharan v. Columbia University College of
                                                                   officially adopted and promulgated by that body's officers.”
Physicians & Surgeons, 842 F.2d 590, 593 (2d Cir.1988). To
the extent Peters provided dates of his protected activity, see        Monell, 436 U.S. at 690. A “custom” is a “persistent and
Def.'s Ex. 4, Responses to Interrogatories ¶ 15; Supplemental      widespread discriminatory practice ... so permanent and well
Responses to Interrogatories ¶ 19, those dates are not in close    settled as to constitute a ‘custom or usage’ with the force of
temporal proximity with the May 6, 1997 letter agreement
                                                                   law.”    Id. at 691 (citation omitted.).
or the subsequent discriminatory paychecks. Cf.     Quinn v.
Green Tree Credit Corp., 159 F.3d 759, 769 (2d Cir.1998)            *10 The policy or custom “need not be contained in an
(two months between protected activity and allegedly adverse       explicitly adopted rule or regulation,” but actions by an
                                                                   official whose edicts or acts represent official policy may
action sufficient to establish causation); Phillips v. Bowen,
278 F.3d 103, 109–11 (2d Cir.2002) (in First Amendment             result in municipal liability under § 1983. Wimmer, 176
retaliation case, plaintiff presented some direct evidence of      F.3d at 137. Thus, if the challenged action is directed by an
retaliation, as well as a close temporal relationship between      official with “final policymaking authority,” the municipality
the adverse action and the retaliatory actions, which, when        may be liable even in the absence of a broader policy.
viewed in combination, gave rise to a reasonable inference of
                                                                   See     Mandell v. County of Suffolk, 316 F.3d 368, 385
retaliation).
                                                                   (2d Cir.2003) (citing   Pembaur v. City of Cincinnati, 475
Moreover, the fact that Stamford hired Peters after he             U.S. 469, 481–83 (1986) (“Municipal liability attaches only
voiced his opposition to the work practices belies the fact        where the decisionmaker possesses final authority to establish
that his lower salary was attributable to retaliation. Cf.         municipal policy with respect to the action ordered.”)).



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                                                                 to Stamford's hiring of him as a provisional sanitarian
Such a policy may be inferred from circumstantial proof,
but the mere assertion that a municipality has such a            on October 28, 1996. See Peters Dep. at 138 (“Q. Did
policy is generally insufficient to support such an inference.   anyone discriminate against you in hiring you back in
                                                                 October/November of 1996? A. No, that's not my claim.”).
See     Dwares v. City of New York, 985 F.2d 94, 100
(2d Cir.1993). “A single incident alleged in a complaint,        Accordingly, only Peters' § 1983 race discrimination claim
especially if it involved only actors below the policymaking     with regard to the May 6, 1997 letter agreement remains in
level, generally will not suffice to raise an inference of the   the case.
existence of a custom or policy.” Id .
                                                                  D. CFEPA Claim
The Court concludes that H. James Haselkamp, Jr.'s role
                                                                 *11 The CFEPA provides that a claim of discrimination
as the Director of Labor Relations for Stamford, 10 and his
                                                                 filed pursuant to  Conn. Gen.Stat. § 46a–82 must be
signing of the May 6, 1997 letter agreement on behalf of
                                                                 filed “within one hundred and eighty days after the
Stamford, provide a sufficient basis for holding Stamford
                                                                 alleged act of discrimination....”   Conn. Gen.Stat. § 46a–
liable under   § 1983. It appears from the record that
Haselkamp had final policymaking authority with regard           82(e); see    Williams v. Commission on Human Rights &
the hiring of Stamford employees and the terms and               Opportunities, 777 A.2d 645 (Conn.2001). Accordingly, for
                                                                 the reasons noted as to Peters' Title VII claims, the Court
conditions of their employment. See         Mandell, 316 F.3d
                                                                 concludes that only Peters' race discrimination regarding
at 385 (“Here, plaintiff challenges as retaliatory employment
                                                                 paychecks received after March 26, 1998 and pursuant to
decisions made by Gallagher, who, as the Suffolk County
                                                                 the May 6, 1997 letter agreement are viable. See Maloney
police commissioner, had authority to set department-wide
                                                                 v. Connecticut Orthopedics, P.C., 47 F.Supp.2d 244, 247
personnel policies.”); cf. Looby v. City of Hartford, 152
F.Supp.2d 181, 188 (D.Conn.2001) (finding no evidence that       (D.Conn.1999) (citing Malasky v. Metal Prods. Corp., 689
defendant fire chief had power to create policy with respect     A.2d 1145 (Conn.App.1997), cert. denied, 241 Conn. 906,
to employment decisions); DeLeon v. Little, 981 F.Supp. 728,     695 A.2d 539 (1997)) (federal law on continuing violations
741 (D.Conn.1997) (finding no municipal liability where          theory is applicable to CFEPA).
defendant had “lack of final decisionmaking authority over
employment/personnel matters”). Accordingly, the Court
                                                                 V. Conclusion
declines to dismiss Peters'   § 1983 claims against Stamford     For the foregoing reasons, Stamford's motion for summary
based on failure to show municipal liability. 11                 judgment [Doc. # 43] is GRANTED IN PART, DENIED
                                                                 IN PART. Only Peters' Title VII race discrimination claims
                                                                 with respect to paychecks received after November 28,
   2. Merits of   § 1983 Claims                                  1997, Peters CFEPA race discrimination claims with respect
As the Court found with regard to Peters' Title VII              to paychecks received after March 26, 1998, and Peters'
claims, Peters has established a prima facie case of race           section 1983 claims with regard to the May 6, 1997 letter
discrimination with regard to the May 6, 1997 letter             agreement remain in the case.
agreement, failed to establish a prima facie of race
discrimination with regard to the stipends, and failed to
establish a prima facie case of retaliation based on his         All Citations
opposition to certain of the Health Department's enforcement
actions. Additionally, as noted above, Peters appears to         Not Reported in F.Supp.2d, 2003 WL 1343265
have abandoned his claim of discrimination with regard




                                                         Footnotes




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1      The following facts are taken from the parties' Local Rule 9(c) statements, summary judgment briefs, and
       other evidence submitted by the parties. They are undisputed unless otherwise indicated.
2      The record does not make clear Peters' job duties. However, they appear to relate to health inspection and
       other environmental health functions.
3      These stipends appear to be payments for completing certain training programs.
4      The results of the CHRO and EEOC complaints are not apparent from the record.
5      Though it is unclear from the complaint, Peters appears to bring both race discrimination and retaliation
       claims pursuant to Title VII.
6      The Court assumes for the purposes of this ruling that Peters' filing with the CHRO controls for purposes of
       the determining the relevant limitations period.
7      Peters also states several other discriminatory and/or retaliatory employment actions allegedly occurred
       after November 28, 1997. Those include: barring him from certain job duties; confiscating certain of his
       work materials; harassing him; threatening him; unfairly reprimanding him; denying him training; denying
       him “due process and protection from harassment”; subjecting him to “racially derogatory statements about
       competence and qualifications of Black Inspectors.” Def.'s Ex. 4. However, Peters does not allege these
       “adverse employment actions” in his CHRO complaint or the instant complaint. Accordingly, the Court will not
       address them as claimed “adverse employment actions” that resulted because of discrimination or retaliation.
8      Making informal complaints such as those to management is a protected activity under Title VII. Gonzalez v.
       Bratton, No. 96 CIV. 6330(VM), 97 CIV. 2264(VM), 2000 WL 1191558, at 12 n. 4 (S.D.N.Y. Aug. 22, 2000).
9      Again, though it is unclear from the complaint, Peters appears to bring both equal protection race
       discrimination and First Amendment retaliation claims pursuant to     42 U.S.C. § 1983.
10     According to the May 6, 1997 letter, Haselkamp was the Director of Labor Relations for Stamford. In
       the deposition of Peters, counsel for Stamford describes Haselkamp as the “former director of Human
       Resources.” Peters Dep. at 227.
11     This is without prejudice to Stamford presenting evidence to the Court at trial that Haselkamp did not have
       such authority. However, this is a question of law for the Court to decide, not a question of fact for the jury
       to resolve. See  Jett v. Dallas Indep. School. Dist., 491 U.S. 701, 737 (1989) (whether a person has final
       decision-making authority is “a legal question to be resolved by the trial judge before the case is submitted
       to the jury”).


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